 Case 1:22-cr-00459-KAM            Document 1      Filed 10/07/22    Page 1 of 1 PageID #: 1
                                                           FILED
                                                   IN CLERK'S OFFICE
                                                   US DISTRICT COURT E.D.N.Y.
                                                   * OCTOBER 7, 2022 *
DMP:ICR/JGH                                        BROOKLYN OFFICE
F. #2022R00749


UNITED STATES DISTRICT COURT
                                                   22-CR-459
EASTERN DISTRICT OF NEW YORK                       Judge Irizarry
                -       -                X         Magistrate Judge Kuo

UNITED STATES OF AMERICA                           NOTICE OF MOTION


         - against -                               Criminal Docket No.              I   }

SINMYAH AMERA CEASAR,

                            Defendant.


                                         X



                 PLEASE TAKE NOTICE that the undersigned will move this Court, before a

judge to be assigned, for leave to file an information upon the defendant SINMYAH AMERA

CEASAR's waiver of indictment pursuant to Rule 7(b) of the Federal Rules of Criminal

Procedure.


Dated:       Brooklyn, New York
             October 7, 2022

                                                    BREON PEACE
                                                    United States Attorney •
                                                    Eastern District of New York



                                             By:
                                                    MTC. Richardson
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Cc:      Clerk of the Court
         Deirdre D. von Domum, Esq.(by email)
         Samuel I. Jacobson, Esq.(by email)
